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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Minnesota Chamber of Commerce, a                    File No. 23-cv-2015 (ECT/JFD)
 Minnesota nonprofit corporation,

                      Plaintiff,

 vs.                                                           ORDER

 John Choi, in his official capacity as County
 Attorney for Ramsey County, Minnesota;
 George Soule, in his official capacity as
 Chair of the Minnesota Campaign Finance
 and Public Disclosure Board; David Asp, in
 his official capacity as Vice Chair of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Carol Flynn, in her
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Margaret Leppik, in her
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Stephen Swanson, in his
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; and Faris Rashid, in his
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board,

        Defendants.


       The Parties’ have filed, and seek approval of, a Stipulation on Amici Briefs, Word

Limits, and Briefing Schedule for Plaintiff’s Preliminary Injunction Motion. ECF No. 70.

Based on all the files, record, and proceedings in the above-captioned matter, IT IS

ORDERED THAT:
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       1.     A non-party wishing to serve as amicus curia shall appear and file a motion

seeking leave to file an amicus brief on or before November 20, 2023. Motions seeking

leave to file an amicus brief shall briefly describe the non-party’s interest in this case.

       2.     The briefing schedule for Plaintiff’s Motion for Preliminary Injunction [ECF

No. 58] is modified as follows:

              a.      Defendants’ response memorandums shall be filed on or before

       November 27, 2023;

              b.      Plaintiff’s reply memorandum shall be filed on or before

       December 11, 2023.

       3.     The word count totals for the Parties’ briefing related to Plaintiff’s Motion

for Preliminary Injunction shall be enlarged as follows:

              a.      The CFPD Board Defendants collectively shall have an additional

       1,500 words, for a total of 13,500 words;

              b.      Defendant Choi will have an additional 1,500 words, for a total of

       13,500 words; and

              c.      Plaintiff Minnesota Chamber of Commerce will have an additional

       3,000 words, for a total of 15,000 words.


Dated: November 3, 2023                            s/ Eric C. Tostrud
                                                   Eric C. Tostrud
                                                   United States District Court




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